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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                        Case No.: 1:19−cr−00277
                                                          Honorable Edmond E. Chang
Concepcion Malinek
                                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, February 3, 2021:


         MINUTE entry before the Honorable Edmond E. Chang as to Concepcion
Malinek: At the parties' request, status hearing set for 02/08/2021 at 10:00 a.m. Counsel
for Defendant reported to the Courtroom that Defendant's appearance can be waived for
this status hearing and that he agrees to appear by telephone. The hearing will proceed by
telephone. Members of the public and media will be able to call in to listen to this hearing.
The call−in number is (877) 336−1831 and the access code is 1736479. Counsel of record
and the Probation Officer will receive an email before the start of the telephonic hearing
with instructions to join the call. Persons granted remote access to proceedings are
reminded of the general prohibition against photographing, recording, and rebroadcasting
of court proceedings. Violation of these prohibitions may result in sanctions, including
removal of court issued media credentials, restricted entry to future hearings, denial of
entry to future hearings, or any other sanctions deemed necessary by the Court. Emailed
notice (mw, )




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